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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
                     v.                      )     Criminal No. 15-10146-NMG
                                             )
(2) TONY BERRY                               )
       a/k/a “Mazibrawl”                     )
               Defendant.                    )


                 NOTICE OF SATISFACTION OF MONEY JUDGMENT

       Now comes the plaintiff, the United States of America, and acknowledges satisfaction of

the Money Judgment entered against the defendant, Tony Berry, on September 17, 2017, in the

amount of $10,000 in United States currency in the above-captioned matter (see Docket No.

416), by payment in full by the defendant on or about February 23, 2018.


                                                   Respectfully submitted,


                                                   ANDREW E. LELLING
                                                   United States Attorney,

                                            By:     /s/ David G. Lazarus
                                                   DAVID G. LAZARUS, BBO No. 624907
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, MA 02210
                                                   (617) 748-3100
Dated: March 15, 2018                              david.lazarus2@usdoj.gov
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed through the Electronic Case Filing
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                                       /s/ David G. Lazarus
                                                      DAVID G. LAZARUS
Dated: March 15, 2018                                 Assistant United States Attorney




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